THE FOLLOWING ORDER
IS APPROVED AND ENTERED
AS THE ORDER OF THIS COURT:

DATED: December 9, 2016
                                                         Susan V. Kelley
                                                         Chief United States Bankruptcy Judge
                                      UNITED STATES BANKRUPTCY COURT
                                       EASTERN DISTRICT OF WISCONSIN

  In re                                                           Chapter 13
  CHARLES ANDREW HOFFKINS and                                     Case No. 15-30114-SVK
  SUZANNA MARIE HOFFKINS,
                 Debtors.


     ORDER DISALLOWING CLAIM NO. 8 FILED BY THE BANK OF NEW YORK
     MELLON TRUST COMPANY, NATIONAL ASSOCIATION FKA THE BANK OF
    NEW YORK TRUST COMPANY, N.A. AS SUCCESSOR TO JP MORGAN CHASE
    BANK, AS TRUSTEE FOR RESIDENTIAL ASSET MORTGAGE PRODUCTS, INC.
          MORTGAGE ASSET-BACKED PASS-THROUGH CERTIFICATES


         On November 2, 2016 the Chapter 13 Standing Trustee filed an objection to Claim no. 8 filed by

THE BANK OF NEW YORK MELLON TRUST COMPANY, NATIONAL ASSOCIATION FKA THE

BANK OF NEW YORK TRUST COMPANY, N.A. AS SUCCESSOR TO JP MORGAN CHASE

BANK, AS TRUSTEE FOR RESIDENTIAL ASSET MORTGAGE PRODUCTS, INC. MORTGAGE

ASSET-BACKED PASS-THROUGH CERTIFICATES. The Trustee gave due notice to the Claimant to

file a response and request for hearing on or before December 2, 2016 if the Claimant did not want the

claim reduced, modified, or eliminated. No response was filed by the Claimant. The evidence

referenced in the Trustee’s objection establishes that the objection should be sustained.

         IT IS THEREFORE ORDERED: Claim No. 8 filed by THE BANK OF NEW YORK MELLON

TRUST COMPANY, NATIONAL ASSOCIATION FKA THE BANK OF NEW YORK TRUST
Prepared by:
Office of the Chapter 13 Trustee/sk
P.O. Box 510920
Milwaukee, WI 53203
T: (414) 271-3943
F: (414) 271-9344


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         COMPANY, N.A. AS SUCCESSOR TO JP MORGAN CHASE BANK, AS TRUSTEE FOR

RESIDENTIAL ASSET MORTGAGE PRODUCTS, INC. MORTGAGE ASSET-BACKED

PASS-THROUGH CERTIFICATES, is disallowed in its entirety as a late filed claim.

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